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 USDC KYWD - Notice On Summons (Rev. 8/07)




                                      United States District Court
                                      Western District of Kentucky
                                             at Louisville
                                               NOTICE ON SUMMONS

 TO:                                         Harlan Judd, III

 CASE #:                                     3:20-cv-331-JRW

 STYLE OF CASE:                              Brooks et al v. Humana, Inc. et al

 DOCUMENT TITLE:                             Complaint

 DATE:                                       5/12/2020

 BY:                                         Melody Morris, Deputy Clerk



                       No Summonses were tendered with your document.

                               TENDERING SUMMONS WITH THE COURT

       If you are tendering summons to the Court separately from your complaint, tendered
 amended complaint, or third-party complaint, you will need to do so by preparing/filing a
 Notice of Filing Tendered Summons with the Court, complete with certificate of service.
 Issued summons will be returned electronically via email. It is also necessary to inform the
 Court within your notice if you intend to serve your summons through the Secretary of State.

       When filing your notice within ECF, please select the event Notice (Other), located
 under Notices. The Notice of Filing should be the main document and all summons should be
 made as attachments. The ECF system will allow you the opportunity to link the notice back to
 any previous filing. Please link your notice of filing to the complaint, tendered amended
 complaint, or third-party complaint to which your summons relates.
